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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 NOEL ET AL.,

                                             Plaintiff(s),               15CV5236-LTS- KHP

                        -v-

 CITY OF NEW YORK ET AL.,

                                 Defendant(s).
 ------------------------------------------------------------X




                                                                 ORDER



           In light of the pending motion(s), the final pretrial conference scheduled for October 7, 2022,

 is rescheduled to January 13, 2023, at 11:30 a.m. in Courtroom 17C.


           SO ORDERED.


 Dated: New York, New York
        September 23, 2022

                                                                          /s/ Laura Taylor Swain
                                                                         LAURA TAYLOR SWAIN
                                                                         United States District Chief Judge




CV Order resched conf date pend mot 10.frm          version 5/22/09
